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9    GARIMA DHAWAN

10
                              UNITED STATES DISTRICT COURT
11
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
12

13
     GARIMA DHAWAN, an individual,               Case No.:
14
                 Plaintiff,                      COMPLAINT FOR:
15

16
          v.                                        Copyright infringement;
                                                    Vicarious and/or Contributory
17   AMERICAN GREETINGS                             Copyright Infringement
18   CORPORATION, an Ohio corporation;
     PRGCO, LLC, an Ohio limited liability            JURY TRIAL DEMANDED
19   company dba Papyrus; PAPYRUS-
20   RECYCLED GREETINGS, INC. , an
     Illinois corporation; TARGET
21   CORPORATION, a Minnesota
22   corporation; and DOES 1 through 10,
     inclusive,
23

24               Defendants.
25

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1          Plaintiff GARIMA DHAWAN (“Plaintiff”) by and through her undersigned
2    counsel, complaining of the defendants PRGCO, LLC, an Ohio limited liability
3    company dba Papyrus; AMERICAN GREETINGS CORPORATION, an Ohio
4    corporation; TARGET CORPORATION, a Minnesota corporation; and DOES 1
5    through 10, inclusive (collectively, “Defendants”), respectfully alleges as follows:
6                               NATURE OF THE ACTION
7          1.     Plaintiff creates and obtains rights to unique two-dimensional non-
8    functional artworks for gallery display and use on textiles, which are transacted
9    primarily in and through the apparel industry. Plaintiff owns these designs in
10   exclusivity and exploits these designs for profit by selling products bearing the
11   designs or entering into licensing agreements for sale or display by third parties.
12   Defendants have knowingly and intentionally used one such design in the
13   production of unauthorized goods which infringe Plaintiff’s copyrights.
14                             JURISDICTION AND VENUE
15         2.     The Court has original subject matter jurisdiction over Plaintiff’s
16   federal claims arising under the Copyright Act of 1976, Title 17 U.S.C., § 101 et
17   seq. under 28 U.S.C. § 1331, 1338 (a) and (b).
18         3.     This Court has personal jurisdiction over the Defendants because the
19   events or omissions giving rise to the claim occurred, the tortuous acts occurred,
20   and a substantial part of the injury took place and continues to take place, in this
21   judicial district and/or each of the defendants can be found in this judicial district.
22         4.     Venue is proper in the United States District Court for the Central
23   District of California pursuant to 28 U.S.C §§ 1391(b), 1391(c), and 1400(a) on
24   information and belief that: (a) this is a judicial district in which a substantial part
25   of the events giving rise to the claims occurred the tortuous acts occurred, and a
26   substantial part of the injury took place and continues to take place; and (b) this is
27   a judicial district in which Defendants may be found.
28   ///

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1                                      THE PARTIES
2          5.     Plaintiff GARIMA DHAWAN (“Plaintiff”) is an individual residing
3    in the United Kingdom.
4          6.     Upon information and belief, defendant AMERICAN GREETINGS
5    CORPORATION (“AGC”), is, and at all times relevant was, an Ohio corporation
6    doing business within the jurisdiction of this Court.
7          7.     Upon information and belief, defendant PRGCO, LLC, doing business
8    as Papyrus (“PRGCO”), is, and at all times relevant was, an Ohio limited liability
9    company doing business within the jurisdiction of this Court.
10         8.     Upon information and belief, defendant PAPYRUS-RECYCLED
11   GREETINGS, INC. (“Papyrus”), is, and at all times relevant was, an Illinois
12   corporation doing business within the jurisdiction of this Court.
13         9.     Upon information and belief, defendant TARGET CORPORATION
14   (“Target”), is, and at all times relevant was, a Minnesota corporation doing
15   business within the jurisdiction of this Court.
16         10.    Defendants DOES 1 through 10 are individuals and/or entities whose
17   true names and capacities are presently unknown to Plaintiff. At such time as said
18   defendants' true names and capacities become known to Plaintiff, Plaintiff will
19   seek leave to amend this Complaint to insert said true names and capacities of such
20   individuals and/or entities.
21         11.    Upon information and belief, at all times relevant herein, Defendants,
22   including Does 1 through 10, inclusive, and each of them, were and still are the
23   partners, agents, employers, and/or employees of the other named Defendants, and
24   each of them; that in so doing the things alleged, said Defendants were acting
25   within the course and scope of said partnership, agency, or employment; and that
26   in so doing the things alleged, said Defendants were acting at all times with the
27   knowledge, consent, and authorization of each of the other Defendants.
28         12.    Upon information and belief, at all times relevant herein, Defendants,

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1    including Does 1 through 10, inclusive, and each of them, are the alter egos of each
2    other; are characterized by a unity of interest in ownership and control among
3    themselves such that any individuality and separateness between them have
4    ceased; are a mere shell instrumentality and conduit through which Defendants
5    carried on their business by use of each others’ names; completely controlled,
6    dominated, managed, and operated each others’ business to such an extent that any
7    individuality or separateness of the Defendants does not and did not exist;
8    completely failed to observe any corporate formalities; and intermingled the assets
9    of each other, and other entities affiliated with them, to suit the convenience of
10   themselves and in order to evade payment of obligations and legal liability to
11   various customers and creditors.
12                              PLAINTIFF’S COPYRIGHT
13         13.     Plaintiff owns, and had owned prior to the infringing acts complained
14   of herein, United States Copyright Registration No. VA 2-084-871-029, which
15   included a two-dimensional textile design she has internally designated as Fiesta 1
16   (“Design”).
17                      DEFENDANTS’ INFRINGING CONDUCT
18         14.     Plaintiff is a renowned artist who regularly sells, licenses, or
19   otherwise exploits her artwork to art galleries and garment and accessories
20   manufacturers.
21         15.     In or around mid to late 2017, Plaintiff discovered that Defendants
22   were selling patterned gift bags that bear designs that are identical or substantially
23   similar to Plaintiff’s Design (the “Infringing Goods”).
24         16.     Upon information and belief, Defendants have misappropriated the
25   Design, and are selling Infringing Goods online and to retail stores throughout the
26   United States, including but not limited to within this judicial district.
27         17.     Upon information and belief, Defendants are, without Plaintiff’s
28   authorization, unlawfully reproducing, importing, distributing and/or selling

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1    Infringing Goods in this judicial district that feature a design that is identical, or
2    substantially similar to, the Design.
3          18.      Upon information and belief, Defendants’ infringing use of the Design
4    is not limited to the Infringing Goods described above, and other goods
5    Defendants created, manufactured, caused to be manufactured, imported,
6    distributed, and/or sold may infringe Plaintiff's copyright in the Design.
7          19.      On or about January 5, 2018, Plaintiff, through her counsel, addressed
8    a letter to Defendants PRGCO and Target, informing them of the Infringing
9    Goods. Plaintiff demanded, among other things, that Defendants immediately
10   cease and desist from using, copying, reproducing, distributing, displaying,
11   ordering, purchasing, manufacturing, offering for sale or advertising the Design in
12   any way. Plaintiff also demanded that Defendants provide Plaintiff’s counsel with
13   a written accounting of each and every use of the Design by Defendants, or any
14   person or entity working with or for Defendants to provide Plaintiff’s counsel with
15   the names, addresses, and contact information for the manufacturers, stores,
16   websites, and companies used by Defendants in relation with the Design. Plaintiff
17   further demanded that Defendants provide Plaintiff’s counsel with copies of all
18   sales receipts, invoices, customer records, accounting records, and inventories of
19   and relating to the Design.
20         20.      Despite correspondence from counsel for “American Greeting
21   Corporation and its Papyrus division,” acknowledging Plaintiff’s January 5, 2018
22   letter, Defendants have failed to sufficiently provide the requested documents and
23   information.
24         21.      Upon information and belief, Defendants continue to misappropriate
25   the Design and to unlawfully reproduce, import, distribute, and/or sell Infringing
26   Goods, in this judicial district, featuring a design, which is identical, or
27   substantially similar to the Design.
28   ///

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1                               FIRST CLAIM FOR RELIEF
2                 (For Copyright Infringement - Against All Defendants)
3           22.    Plaintiff repeats, reiterates and realleges each and every allegation
4    contained in paragraphs designated 1 through 21, inclusive, of this Complaint, as if
5    fully set forth herein at length.
6           23.    Plaintiff is informed and believes and thereon alleges that Defendants,
7    and each of them, infringed Plaintiff’s copyright by creating, making and/or
8    developing directly infringing and/or derivative works from the Design and by
9    producing, distributing and/or selling Infringing Goods.
10          24.    Due to Defendants' acts of infringement, Plaintiff has suffered
11   substantial damages to her business in an amount to be established at trial.
12          25.    Due to Defendants' acts of infringement, Plaintiff has suffered general
13   and special damages in an amount to be established at trial.
14          26.    Due to Defendants' acts of copyright infringement as alleged herein,
15   Defendants, and each of them, have obtained direct and indirect profits they would
16   not otherwise have realized but for their infringement of the Design. As such,
17   Plaintiff is entitled to disgorgement of Defendants’ profits directly and indirectly
18   attributable to Defendants’ infringement of the Design in an amount to be
19   established at trial.
20          27.    Plaintiff is informed and believes and thereon alleges that Defendants,
21   and each of them, have imported, manufactured, cause to be manufactured and/or
22   sold Infringing Goods.
23          28.    Upon information and belief, Defendants also began such activities
24   although they were fully aware of Plaintiff’s superior rights to the Design.
25   Therefore, Defendants' acts of copyright infringement as alleged above were, and
26   continue to be, willful, intentional and malicious, subjecting Defendants, and each
27   of them, to liability for statutory damages under Section 504(c)(2) of the Copyright
28   Act in the sum of up to one hundred fifty thousand dollars ($150,000) per

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1    infringement.   Further, Defendants', and each of their willful and intentional
2    misappropriation and/or infringement of Plaintiff's copyrighted Design renders
3    Defendants, and each of them, liable for statutory damages as described herein.
4    Within the time permitted by law, Plaintiff will make her election between actual
5    damages and statutory damages. Plaintiff is also entitled to preliminary and
6    permanent injunctive relief.
7                            SECOND CLAIM FOR RELIEF
8             (For Vicarious and/or Contributory Copyright Infringement
9                                   - Against All Defendants)
10         29.    Plaintiff repeats, realleges and incorporates herein by reference as
11   though fully set forth the allegations contained in Paragraphs 1 through 21,
12   inclusive.
13         30.    Plaintiff is informed and believes and thereon alleges that Defendants
14   knowingly induced, participated in, aided and abetted in and profited from the
15   illegal reproduction and/or subsequent sales of Infringing Goods featuring the
16   Design as alleged hereinabove.
17         31.    Plaintiff is informed and believes and thereon alleges that Defendants,
18   and each of them, are vicariously liable for the infringements alleged herein
19   because they had the right and ability to supervise the infringing conduct and
20   because they had a direct financial interest in the infringing conduct.
21         32.    By reason of the Defendants', and each of their, acts of contributory
22   infringement as alleged above, Plaintiff has suffered and will continue to suffer
23   substantial damages to her business in an amount to be established at trial, as well
24   as additional general and special damages in an amount to be established at trial.
25         33.    Due to Defendants' acts of copyright infringement as alleged herein,
26   Defendants, and each of them, have obtained direct and indirect profits they would
27   not otherwise have realized but for their infringement of the Designs. As such,
28   Plaintiff is entitled to disgorgement of Defendants' profits directly and indirectly

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1    attributable to Defendants' infringement of the Design, in an amount to be
2    established at trial.
3           34.    Plaintiff is informed and believes and thereon alleges that Defendants,
4    and each of them, have imported, manufactured, cause to be manufactured and/or
5    sold Infringing Goods.
6           35.    Upon information and belief, Defendants also began such activities
7    although they were fully aware of Plaintiff’s superior rights to the Design.
8    Therefore, Defendants' acts of copyright infringement as alleged above were, and
9    continue to be, willful, intentional and malicious, subjecting Defendants, and each
10   of them, to liability for statutory damages under Section 504(c)(2) of the Copyright
11   Act in the sum of up to one hundred fifty thousand dollars ($150,000) per
12   infringement.     Further, Defendants', and each of their, willful and intentional
13   misappropriation and/or infringement of Plaintiff's copyrighted Design renders
14   Defendants, and each of them, liable for statutory damages as described herein.
15   Within the time permitted by law, Plaintiff will make her election between actual
16   damages and statutory damages. Plaintiff is also entitled to preliminary and
17   permanent injunctive relief.
18                                  PRAYER FOR RELIEF
19          WHEREFORE, Plaintiff respectfully demands the following relief against
20   Defendants, jointly and severally:
21

22   Against All Defendants, With Respect to Each Claim for Relief:
23          a.     That Defendants, their agents and servants be enjoined from selling
24   Infringing Goods, or otherwise infringing Plaintiff's copyright in the Design;
25          b.     That Plaintiff be awarded all profits of Defendants plus all losses of
26   Plaintiff, the exact sum to be proven at the time of trial, or, if elected before final
27   judgment, statutory damages as available under the Copyright Act, 17 U.S.C. § 101
28   et seq.;

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1          c.    That Plaintiff be awarded her attorneys' fees as available under the
2    Copyright Act 17 U.S.C. § 101 et seq.;
3          d.    Directing such other relief as the Court may deem appropriate to
4    prevent the Defendants from participating in this or other copyright infringements;
5    and
6          e.    Such other relief as the Court may deem appropriate.
7

8
     Dated: March 5, 2018                  NOVIAN & NOVIAN, LLP
                                           Attorneys at Law
9

10                                         By:       /s/ Farhad Novian
                                                    FARHAD NOVIAN
11
                                                    JOSEPH A. LOPEZ
12                                                  Attorneys for Plaintiff
13
                                                    GARIMA DHAWAN
                              DEMAND FOR JURY TRIAL
14
           A jury trial is demanded pursuant to Fed. R. Civ. P. 38.
15

16
     Dated: March 5, 2018                  NOVIAN & NOVIAN, LLP
17

18                                         By:       /s/ Farhad Novian
                                                    FARHAD NOVIAN
19
                                                    JOSEPH A. LOPEZ
20                                                  SHARON RAMINFARD
                                                    Attorneys for Plaintiff
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                                                    GARIMA DHAWAN
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